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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 24-mj-04616-D’ANGELO


 UNITED STATES of AMERICA,

       Plaintiff,

 v.

 OREN ALEXANDER,

       Defendant.
                                     /

        MOTION TO CONTINUE DETENTION HEARING FROM
       MONDAY, DECEMBER 30, 2024 TO FRIDAY, JAUARY 3, 2025

       Oren Alexander, through undersigned counsel, hereby moves to briefly
 continue his detention hearing for a period of four days from Monday to Friday of
 next week to permit recently retained counsel to complete preparation for the hearing
 and to accommodate counsel’s need to prepare for and obtain a retinal surgical
 procedure scheduled for next week. Mr. Alexander states the following grounds in
 support of this continuance.
       Mr. Alexander made his initial appearance on December 20, 2024, and a
 detention hearing is currently scheduled for December 30, 2024. Since making his
 initial appearance, Mr. Alexander has made arrangements to retain undersigned
 counsel to represent him, and undersigned counsel entered his appearance in this
 matter yesterday.
       The instant case presents multiple complex factual and legal issues. Bond
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 proceedings as to a co-defendant were lengthy and involved detailed financial,
 biographical, and other matters as to which undersigned counsel has just commenced
 reviewing to assure that the presentation made on the defendant’s behalf is accurate
 and complete. At the same time, counsel is scheduled for a surgical treatment for
 retinal problems in the coming week, for which preparation is required and resolution
 is needed. Counsel has been using steroids to mitigate side effects of the vision
 problem and will be best able to proceed with the hearing following the scheduled
 treatment. To assure that the defendant has the benefit of adequate representation at
 the crucial detention hearing scheduled for next week, we request a brief continuance
 of four days, to Friday, January 3, 2025..
       Independently of counsel’s recent bout with retinal and related issues, counsel
 has identified specific needs for additional investigation and record preparation
 anticipatory to the detention hearing. The facts are complex, and it will take time to
 reach out to witnesses, research the relevant factual and legal issues, and gather
 evidence to present to the Court.
       Mr. Alexander is thus requesting a brief continuance of his detention hearing
 to Friday, Jan. 3, 2025. Undersigned counsel conferred with counsel for the
 government. Assistant United States Attorney Kaiya Orroyo represented that the
 government does not oppose the continuance, provided that Mr. Oren Alexander
 agrees to accept the testimony of the agents at Tal and Alon Alexander’s hearings,
 given the resources required to transport an agent to the Southern District of Florida.
 Oren Alexander agrees to this modification and requests the continuance pursuant to
 this agreement.
       WHEREFORE, the defendant, Oren Alexander, hereby requests that his
 detention hearing be continued to Friday, Jan. 3, 2025.

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                                                Respectfully submitted,

                                                KLUGH WILSON LLC

                                                By: /s/ Richard C. Klugh
                                                      Richard C. Klugh
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